Case 1:13-cv-01432-RA-KNF Document 139-8 Filed 12/29/15 Page 1 of 13




                      Exhibit H

                       REDACTED
      Case 1:13-cv-01432-RA-KNF Document 139-8 Filed 12/29/15 Page 2 of 13



                                                                   Page 1

1
        UNITED STATES DISTRICT COURT
2       SOUTHERN DISTRICT OF NEW YORK
        Civil Case No. 13 CV 1432
3       - - - - - - - - - - - - - - - - - - - - - x
4       WILLIAM HENIG, on behalf of himself and all
        others similarly situated,
5
                                         Plaintiff,
6
                            - against -
7
        QUINN EMANUEL URQUHART & SULLIVAN, LLC and
8       PROVIDUS NEW YORK, LLC,
9                            Defendants.
        - - - - - - - - - - - - - - - - - - - - - x
10
11                                       233 Broadway
                                         New York, New York
12
                                         September 4, 2014
13                                       10:09 a.m.
14
15                  PRIVILEGED - CONFIDENTIAL
16                  SUBJECT PROTECTIVE ORDER
17
18                    DEPOSITION of KEN TANZER,
19      held at the above time and place, taken
20      before Brittany Saline, a Notary Public of
21      the State of New York, pursuant to the
22      Federal Rules of Civil Procedure.
23
24
25

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      Case 1:13-cv-01432-RA-KNF Document 139-8 Filed 12/29/15 Page 3 of 13



                                                                   Page 6

1          K. TANZER - PRIVILEGED - CONFIDENTIAL
2               know.     Just please do not take a break
3               when there is a question pending; is
4               that okay?
5                           THE WITNESS:          Yes.
6                           MR. KIRSCHENBAUM:             You can
7               talk to your lawyer at any time as
8               long as there is no question pending;
9               is that understood?
10                          THE WITNESS:          Yes.
11                          MR. KIRSCHENBAUM:             During the
12              deposition, your attorney might object
13              to some of my questions.                 Unless he
14              specifically instructs you not to
15              answer, you can answer my question;
16              understood?
17                          THE WITNESS:          Yes.
18              Q           Are you currently taking any
19      medications that may impair your ability to
20      testify truthfully today?
21              A           No.
22              Q           Is there any other reason why
23      your memory might be impaired today?
24              A           No.
25              Q           Do you currently work at Quinn

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      Case 1:13-cv-01432-RA-KNF Document 139-8 Filed 12/29/15 Page 4 of 13



                                                                   Page 7

1          K. TANZER - PRIVILEGED - CONFIDENTIAL
2       Emanuel?
3               A           Yes.
4               Q           What is your job title?
5               A           Contract attorney.
6               Q           How long have you been
7       employed as a contract attorney at Quinn
8       Emanuel?
9               A           There is a break in the
10      timing, I started out there must have been
11      early 2007, I was there for about a half
12      year and then I left and then I came back
13      somewhere between three or four years ago.
14              Q           So you came back between 2010
15      and 2011?
16              A           Around there, yes.
17              Q           And when you started in 2007,
18      how long did that last?
19              A           It was six months, seven
20      months.
21              Q           Where did you work in between
22      that and your second employment at Quinn
23      Emmanuel?
24              A           I worked at Kavanagh, Maloney,
25      Osnato.

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      Case 1:13-cv-01432-RA-KNF Document 139-8 Filed 12/29/15 Page 5 of 13



                                                                   Page 8

1          K. TANZER - PRIVILEGED - CONFIDENTIAL
2               Q           Was your contract position at
3       Quinn Emmanuel your first job out of law
4       school?
5               A           Yes.
6               Q           When did you graduate law
7       school?
8               A           2006.
9               Q           And are you admitted to the
10      New York State bar?
11              A           Yes.
12              Q           When were you admitted to the
13      New York State bar?
14                          MR. KITCHENS:           Objection.
15              A           Soon after graduation, I think
16      2007 was the year.
17              Q           Before you started your
18      contract position at Quinn Emmanuel?
19                          MR. KITCHENS:           Objection.
20              A           No.
21              Q           Your first position at Quinn
22      Emanuel in early 2007, was that a document
23      review project?
24                          MR. KITCHENS:           Objection.
25              A           A document review was part of

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                                                                   Page 9

1          K. TANZER - PRIVILEGED - CONFIDENTIAL
2       it, yes.
3               Q           What were the other parts of
4       it?
5                           MR. KITCHENS:           Objection.
6               A           It was mainly document review,
7       but it was -- I was the only contract
8       attorney on the matter, so I was kind of
9       involved throughout.
10              Q           Okay.      Are you currently
11      employed as a second-level reviewer?
12              A           Currently working as a
13      privilege log reviewer the case I am
14      working on now.
15              Q           Okay.      And you're familiar
16      with William Henig?
17              A           I believe I interviewed him.
18              Q           Okay.      You know that he was
19      employed as a document reviewer at Quinn
20      Emanuel for roughly, I would say, a month
21      or two in the year of 2012?
22              A           Yes, I believe he was
23      employed, he was working on a Quinn matter
24      through an agency.
25              Q           Right.

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                                                                  Page 12

1          K. TANZER - PRIVILEGED - CONFIDENTIAL
2       of individuals and say these people are
3       coming in, please interview them?
4               A           I was emailed a list of
5       individuals, time frames and they attached
6       their resumes.
7               Q           And this list was emailed to
8       you by Todd Riegler?
9                           MR. KITCHENS:           Objection.
10              A           I believe so, yes.
11              Q           As far as you know, are you
12      the only individual at Quinn Emanuel to
13      interview Mr. Henig?
14                          MR. KITCHENS:           Objection.
15              A           I couldn't -- I have no idea.
16              Q           Mr. Riegler asked you to
17      interview Mr. Henig, did he give you any
18      specifics as to what you were supposed to
19      be looking for during this interview?
20              A           Not specifically that
21      interview.        Generally speaking, when it
22      came to interviewing the candidates, we
23      were told to -- there was a few things he
24      wanted noted in our reply email where we
25      evaluated the candidates and he wanted to

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                                                                  Page 13

1          K. TANZER - PRIVILEGED - CONFIDENTIAL
2       know what state they were admitted to for
3       bar admittance and what year.                    He wanted to
4       know -- he had a ranking system where we
5       would say -- you know, it was a number
6       system, I think it was maybe 1 through 3 or
7       1 through 4, where it was definitely hire,
8       strong approval, approval, and then
9       question and why, like a No. 3 would need a
10      why and 4 was do not approve.
11              Q           So 1 would be definitely hire?
12              A           Yes.
13              Q           And 2?
14              A           That was still like hire.
15              Q           Hire?
16              A           Yes.
17              Q           Just not definitely?
18              A           One was strong approval, 2 was
19      approval, 3 was --
20              Q           Question mark?
21              A           -- do not approve and give a
22      short reason why, and 4 was strong
23      disapproval.          I believe, that was a while
24      ago, I haven't seen the email.
25              Q           Is it your understanding that

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      Case 1:13-cv-01432-RA-KNF Document 139-8 Filed 12/29/15 Page 9 of 13



                                                                  Page 14

1          K. TANZER - PRIVILEGED - CONFIDENTIAL
2       your recommendation of this regard was
3       generally followed?
4                           MR. KITCHENS:           Objection.
5               A           Excuse me, can you please
6       repeat?
7               Q           Sure.      Is it your
8       understanding that your recommendation in
9       this regard was generally followed by Quinn
10      Emanuel?
11              A           I do not know what they did,
12      it was not my hands to say definitely this
13      or that, it just went to them and then the
14      process went on without my knowledge.
15              Q           Of the seven people you
16      interviewed, did you give any of those
17      individuals a 3 recommendation?
18              A           First of all, I am not sure if
19      it was exactly seven, that was a general
20      ballpark recollection I had it, could have
21      been five it, could have been eight.
22              Q           Okay.
23              A           And I believe I gave maybe
24      one, I definitely gave one person a 1 and I
25      believe the rest were 2.

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     Case 1:13-cv-01432-RA-KNF Document 139-8 Filed 12/29/15 Page 10 of 13



                                                                 Page 15

1          K. TANZER - PRIVILEGED - CONFIDENTIAL
2                           MR. KITCHENS:          Objection.
3               Q           Did those people subsequently
4       get hired for the job to your knowledge?
5               A           I know that I had seen three
6       of them subsequently.
7               Q           Okay.      Do you remember what
8       number you gave Mr. Henig?
9               A           I do not -- well, actually I
10      do.     I think I gave everyone 1s or 2s and I
11      know who I gave a 1 to, so I believe I gave
12      him a 2.
13              Q           You would send these numbers
14      in a report to Mr. Riegler?
15              A           It was just an email with, you
16      know, the bar admittance, the number, not
17      sure if we included what law school, that
18      might have been another thing we added, I
19      am not sure, and our recommendation number,
20      it's a while ago, I can't recollect
21      everything that was in that email.
22              Q           Would you have sent that email
23      from a Quinn Emmanuel email address?
24              A           Yes.
25              Q           Do you know if you searched

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     Case 1:13-cv-01432-RA-KNF Document 139-8 Filed 12/29/15 Page 11 of 13



                                                                 Page 16

1          K. TANZER - PRIVILEGED - CONFIDENTIAL
2       your Quinn Emmanuel address to find a copy
3       of that email?
4               A           Do I know -- excuse me?
5                           MR. KITCHENS:          Objection.
6               Q           Have you looked through your
7       email for a copy of the email you sent to
8       Todd Riegler for your recommendation to
9       Mr. Henig?
10              A           No.
11                          MR. KIRSCHENBAUM:             Obviously
12              we're going to request it.
13                          MR. KITCHENS:          Okay.      We can
14              discuss at the end of the deposition.
15                          MR. KIRSCHENBAUM:             Okay.      Do
16              you have something you want?
17                          MR. KITCHENS:          No, we can just
18              talk after.
19                          MR. KIRSCHENBAUM:             We're going
20              to request that Quinn Emmanuel produce
21              that email.
22                          MR. KITCHENS:          We can discuss
23              at the end.
24              Q           What criteria did you consider
25      when ranking an interviewee?

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     Case 1:13-cv-01432-RA-KNF Document 139-8 Filed 12/29/15 Page 12 of 13



                                                                 Page 17

1          K. TANZER - PRIVILEGED - CONFIDENTIAL
2               A           Sure, well, we had the resume
3       so we know what law school they went to.
4       And then when I look at the resume I try to
5       get -- things that we look for would be
6       some experience for the document review.
7       None of these things were also, if they
8       didn't have it, you wouldn't hire, if they
9       did have it, you definitely hire.                     But some
10      of the things that factor in would be where
11      they went to law school, if they had
12      document review experience and if there is
13      anything in their background that was
14      finance-related, but then -- so I would
15      look at that to get a feel for what a
16      candidate's strengths or weaknesses might
17      be and when I interview them, you know,
18      let's say a weakness is that they didn't
19      have document review experience, you kind
20      of discuss the document review process and
21      get a feel for their understanding of what
22      you're explaining and comfort level with
23      it.     And, you know, someone didn't have,
24      you know, financial background, I would ask
25      them if they had a general understanding of

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     Case 1:13-cv-01432-RA-KNF Document 139-8 Filed 12/29/15 Page 13 of 13



                                                                 Page 18

1          K. TANZER - PRIVILEGED - CONFIDENTIAL
2       the                          process or about, you
3       know, just what was in the news about the
4                                               , collapse market
5       issues.      And if they had a feel for that,
6       that would weigh in their favor, and those
7       are the things -- so you would look for
8       what the resume didn't have and get a sense
9       of their strengths with that.
10                          Just generally, too, you know,
11      since you work in large groups and this and
12      there is a lot of interaction and
13      discussing of what we're seeing, you get a
14      feel for how communicative they are and how
15      well, you know, they can work in groups.
16              Q           Do you remember if Mr. Henig
17      had any document review experience before
18      interviewing with you?
19              A           No, I don't remember.
20              Q           Do you remember if he had any
21      financial background before the interview
22      with you?
23              A           Honestly, I don't remember any
24      of the details of the interview or his
25      resume.

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